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                EXHIBIT A
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------x
                                                                  :
   NIKE, INC.,                                                    :
                                                                  :
                                       Plaintiff,                 :
                                                                  :
                     v.                                           :   No. 22 CV 00983 (VC) (SN)
                                                                  :
   STOCKX LLC;                                                    :
                                                                  :
                                       Defendant.                 :
                                                                  :
                                                                  :
   ---------------------------------------------------------------x


                        [PROPOSED] ORDER AMENDING
                CASE MANAGEMENT PLAN AND SCHEDULING ORDER

       WHEREAS, on April 11, 2022, the Court issued a Civil Case Management Plan and

Scheduling Order setting a fact discovery deadline of October 15, 2022, and an expert discovery

deadline of January 15, 2023, and scheduling the next pre-trial conference for October 28, 2022,

at 10:00 A.M. See ECF No. 25.

       WHEREAS, on May 25, 2022, Nike filed a First Amended Complaint, which added a

Sixth Cause of Action for Counterfeiting, pursuant to 15 U.S.C. § 1114, and a Seventh Cause of

Action for False Advertising, pursuant to 15 U.S.C. § 1125(a)(1)(B). See ECF No. 39, ¶¶ 164-

175.

       WHEREAS, in light of the expanded scope of this case, Plaintiff Nike, Inc. and

Defendant StockX LLC (together, the “Parties”) have filed a request to extend the deadlines for

the completion of fact and expert discovery to January 20, 2023, and May 5, 2023, respectively.




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         IT IS HEREBY ORDERED that, the Parties’ request for an extension of the discovery

period is GRANTED. The current Civil Case Management Plan and Scheduling Order is

accordingly amended such that Parties’ deadline for the completion of all fact discovery is

January 20, 2023, and the Parties’ deadline for the completion of all expert discovery is May 5,

2023.

         IT IS FURTHER ORDERED that the next pretrial conference is adjourned from

Friday, October 28, 2022, at 10:00 A.M. to Friday, February 3, 2022, at 10:00 A.M.

SO ORDERED.


Dated:                        , 2022



                                             Hon. Valerie Caproni
                                             United States District Court Judge




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